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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

    v.                                           Case No. 21-cr-193-BAH

GREG RUBENACKER,

     Defendant.

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Greg Rubenacker to 46 months’ incarceration, 3 years of supervised release,

$2000 in restitution, and the mandatory special assessments for each count of conviction.

    I.      INTRODUCTION

         The defendant, Greg Rubenacker, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020

presidential election, injured more than one hundred law enforcement officers, and resulted in

more than 2.7 million dollars in losses.1

         Rubenacker pleaded guilty, without a plea agreement, to all ten counts in a superseding

indictment, including three felonies: Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) (Count

One); Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2) (Count Two);


1
 As of April 5, 2022, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,734,783.15. That amount reflects, among other things, damage to the United
States Capitol building and grounds and certain costs borne by the United States Capitol Police.
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and Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C. § 111(a)(1)

(Count Three). In addition to these felonies, he pleaded guilty to three Class A misdemeanors,

and four Class B misdemeanors. As explained herein, the Court should sentence Rubenacker to

46 months’ incarceration, which is the mid-point of the advisory Guidelines range of 41-51

months.

       Rubenacker was one of the first people to breach the Capitol, entering the Senate Wing

Doors within 60 seconds of the initial breach of the building. Inside, he and other rioters chased

United States Capitol Police Officer Eugene Goodman through part of the Capitol, while some

rioters yelled, “He’s one person, we’re thousands!” and “where are they counting the votes?”—

ignoring the officer’s extended baton and repeated demands to “back up.” Rubenacker, one of

the first four or five rioters at the front of the mob, continued to chase Officer Goodman near the

entrance to the Senate Chamber where Rubenacker berated other officers and nearby rioters

screamed, “back up!” and “Go arrest the Vice President!” Rubenacker then exited the building,

only to breach the Capitol again at a different location. This time, Rubenacker pushed down the

Senate Hall toward the Senate Chamber before being rebuffed again by law enforcement

deploying chemical-irritant spray. Retreating to the Rotunda, Rubenacker, in his own words,

“smok[ed] out the Capitol,” with what appears to be marijuana. When law enforcement began

entering the Rotunda, Rubenacker refused to leave and confronted multiple officers, screaming

that they were “communists.” When officers formed a line to force rioters out, Rubenacker

escalated in response: he swung a water bottle at one officer’s head and threw liquid at other

officers who were engaging with a rioter. Only after an officer sprayed chemical-irritant spray in

Rubenacker’s face did he finally leave the Capitol, over one hour after he initially breached the

building.

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         Rubenacker later posted about his actions on Snapchat, merging multiple videos he had

recorded inside the Capitol into one “story.” Then, days after January 6, Rubenacker searched

the internet for “fbi pictures of rioters” and methods to encrypt an iPhone—searches consistent

with someone attempting to conceal evidence of his criminal actions. He later explained to

another individual that he “fought for [their] constitutional rights.”

         Rubenacker has shown little, if any, remorse for his actions on January 6. A sentence of

46 months’ incarceration is appropriate to reflect the gravity of Rubenacker’s conduct.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         On January 6, 2021, hundreds of rioters, including Rubenacker, unlawfully broke into the

Capitol to disrupt the peaceful transfer of power after the 2020 presidential election. Many

rioters attacked and injured law enforcement officers, sometimes with dangerous weapons; they

terrified congressional staff and others on scene that day, many of whom fled for their safety;

and they ransacked a historic building—vandalizing, damaging, and stealing artwork, furniture,

and other property. Although the facts and circumstances surrounding the actions of each rioter

who breached the Capitol and its grounds differ, each rioter’s actions were illegal and

contributed, directly or indirectly, to the violence and destruction that day. See United States v.

Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn’t a mob without the

numbers. The people who were committing those violent acts did so because they had the safety

of numbers.”) (statement of Judge Chutkan).

         As set forth in the Pretrial Sentencing Report (PSR) and the Joint Stipulation of Facts, a

joint session of Congress had convened at approximately 1:00 p.m. at the Capitol. Members of

the House of Representatives and the Senate were meeting in separate chambers to certify the

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vote count of the Electoral College of the 2020 presidential election. By approximately 1:30

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Michael R. Pence was present and presiding, first in the joint session, and then in

the Senate Chamber.

       As the proceedings continued, a large crowd gathered outside the Capitol. Temporary and

permanent barricades were in place around the exterior of the building, and Capitol Police were

present and attempting to keep the crowd away from the building and the proceedings underway

inside. At approximately 2:00 p.m., certain individuals forced their way over the barricades and

past the officers, and the crowd advanced to the exterior of the building. Members of the crowd

did not submit to standard security screenings or weapons checks by security officials.

       The vote certification proceedings were still underway, and the exterior doors and

windows of the Capitol were locked or otherwise secured. Members of the Capitol Police

attempted to keep the crowd from entering; however, shortly after 2:00 p.m., individuals in the

crowd forced their way in, breaking windows and assaulting law enforcement officers along the

way, while others in the crowd cheered them on.

       At approximately 2:20 p.m., members of the House of Representatives and the Senate—

including the President of the Senate, Vice President Pence—were forced to evacuate the

chambers. All proceedings, including the joint session, were effectively suspended. The

proceedings resumed at approximately 8:00 p.m. after the building had been secured. Vice

President Pence remained in the Capitol from the time he was evacuated from the Senate

Chamber until the session resumed. See PSR ¶¶ 18-24.

             Injuries and Property Damage Caused by the January 6, 2021 Attack

       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

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grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir.

2021). Members of this Court have similarly described it as “a singular and chilling event in U.S.

history, raising legitimate concern about the security—not only of the Capitol building—but of

our democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C.

Mar. 10, 2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. June 30, 2021) (Doc. 41,

Hrg. Tr. at 14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and

myself for what we view as an incredibly dangerous and disturbing attack on a free electoral

system.”); United States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26,

2021) (“The actions of this violent mob, particularly those members who breached police lines

and gained entry to the Capitol, are reprehensible as offenses against morality, civic virtue, and

the rule of law.”).

        In addition, the rioters injured more than a hundred members of law enforcement. See

Staff of Senate Committees on Homeland Security and Governmental Affairs and on Rules and

Administration Report, Examining the Capitol Attack: A Review of the Security, Planning, and

Response Failures on January 6 (June 7, 2021), at 29, available at https://www.hsgac.senate.gov/

imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.CapitolAttack.pdf (describing officer

injuries). Some of the rioters wore tactical gear and used dangerous weapons and chemical

irritants during hours-long, hand-to-hand combat with law enforcement officers. See id. at 27-30.

        Moreover, the rioters inflicted significant emotional injuries on law enforcement officers

and others on scene that day who feared for their safety. See id; see also Architect of the Capitol,

J. Brett Blanton, Statement before the House of Representatives Committee on House

Administration (May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-05/

AOC_Testimony_CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect of

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the Capitol employees due to the January 6, 2021, attack).

          Finally, the rioters stole, vandalized, and destroyed property inside and outside the

Capitol. They caused extensive, and in some instances, incalculable, losses. This included

wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems and

photography equipment, broken furniture, damaged artwork (including statues and murals),

historic lanterns ripped from the ground, and paint tracked over historic stone balustrades and

Capitol Building hallways. See id; see also United States House of Representatives Curator Farar

Elliott, Statement Before the House Appropriations Subcommittee on the Legislative Branch

(Feb. 24, 2021), available at https://docs.house.gov/meetings/AP/AP24/20210224/111233/

HHRG-117-AP24-Wstate-ElliottF-20210224.pdf (describing damage to marble and granite

statues). The attack resulted in substantial damage to the Capitol, requiring the expenditure of

over $2.7 million.

          B.     The Defendant’s Role in the January 6, 2021 Attack on the Capitol

          Greg Rubenacker played a prolonged role in the January 6 attack on the Capitol. His

crimes are well documented through a variety of sources, including body worn camera from the

Metropolitan Police Department, open-source videos and photographs, surveillance footage from

inside of the Capitol, and video from Rubenacker’s own social media and cellular phone.

          Before the attack, Rubenacker traveled to Washington, D.C. from his home in New York.

On January 6, he attended the “Stop the Steal” rally, where he recorded the crowd around him

near the Washington Monument. “America is pissed,” he wrote and later posted on Snapchat as

part of a longer story.2 The government has provided the Court with Rubenacker’s Snapchat

story. See Gov. Exhibit 1. A still from the video is below, showing his name (circled in red).


2
    Snapchat allows users to splice videos together and post the final product online as a “story.”
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                       Rubenacker’s First Unlawful Entry Into the Capitol

       Rubenacker then made his way to Capitol grounds, eventually entering the Capitol

through the Senate Wing Doors at 2:13 p.m., less than one minute after the initial breach of the

building. In fact, he was one of the first 50 rioters to enter the Capitol on January 6.

       Rioters initially broke a window on the south side of the Senate Wing Doors, then forced

open those doors by kicking them from the inside. The first screenshot below from Capitol

surveillance footage shows the first rioter jumping through the broken window on the south side

of the Senate Wing Doors. The cracked windowpanes on the windows north of the door are also

visible. The second screenshot below, also from Capitol surveillance footage, was taken at

2:13:28—just seconds before Rubenacker entered the building. In the middle of the image, two

other rioters are kicking the Senate Wing Doors from the inside. On the north side of the doors,
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the image also shows one cracked windowpane and another shattered, where a rioter has already

climbed through to enter the building. Notably, the surveillance video makes clear that no law

enforcement officers opened the doors, nor did any officers indicate to Rubenacker and this

group that they were allowed inside.




       After the rioters forcefully kicked open the Senate Wing Doors, Rubenacker was among

the initial wave to breach at approximately 2:13 p.m. The government has provided the Court

video from outside of the Senate Wing Doors just as rioters entered the breached doors, showing

screaming rioters banging on and breaking the doors and windows to unlawfully enter. See Gov.
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Exhibit 3. Rubenacker’s entry is pictured below in the screenshot from Capitol surveillance

footage with Rubenacker circled in red.




       Open-source video also captured the moment Rubenacker entered the Capitol. 3

Immediately upon entering, Rubenacker pulled his mask down and began screaming, “USA!

USA!” while others around him streamed inside through the broken doors and windows.

Continuing deeper into the Capitol, Rubenacker marched down a hall with other rioters and

recorded his surroundings with his cell phone, yelling, “Holy shit! This is history! We took the

Capitol!” He also later included this video in his Snapchat story. See Gov. Exhibit 1. The below

screenshot of an open-source video shows the moment Rubenacker (circled in red) entered the

building yelling.




3
 See https://www.youtube.com/watch?v=gTurnetBh4A&t=776s, from video timestamp 12:52 to
12:56.
                                          9
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        Within one minute of breaching the Capitol, Rubenacker, along with a group of other

rioters, approached Capitol Police Officer Eugene Goodman guarding the entrance to a flight of

stairs. Just prior to arriving, Officer Goodman had sprinted through the Capitol to head off the

rioters. En route, he encountered Senator Mitt Romney and directed him to turn around to avoid

the rioters. Stills from this interaction are below.4




4
 See, https://www.nytimes.com/video/us/politics/100000007606996/capitol-riot-trump-supporter
s.html, at approximately video timestamp 19:42.
                                              10
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       As the rioters approached Officer Goodman, some yelled, “Where are they counting the

votes?”, “Keep running, motherfucker,” and “He’s one person, we’re thousands!” Officer

Goodman placed one hand on his utility belt and used his other hand to point the rioters away

from the entrance to the stairs. Rubenacker, near the front of the mob, did not leave. A still from

open-source video footage is provided below with Rubenacker (circled in red) wearing a light-

brown colored hood. The government has provided this video to the Court. See Gov. Exhibit 4.




       Officer Goodman retreated backwards up the stairs, repeatedly yelling “back up!” and

displaying an extendable baton. Rubenacker and others chased Officer Goodman up a flight of

stairs, directly past where lawmakers had just retreated from conducting the joint session. Officer

Goodman pushed back some of the rioters at the front of the crowd. Rubenacker and the others

ignored the officer and pushed forward. A still from an open-source video is provided below,

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showing Rubenacker (circled in red) still at the front of the mob chasing Officer Goodman up the

stairs. See Gov. Exhibit 4.




       Rubenacker and the other rioters chased Officer Goodman to the top of the stairs and into

the Ohio Clock Corridor. There, Rubenacker and other rioters lined up and confronted Officer

Goodman and other officers who had joined the effort to hold Rubenacker and others back—feet

from the Senate Chamber. See Gov. Exhibit 4. Open-source video captured these events,

including Rubenacker storming up the stairs and confronting the officers with a line of other




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rioters.5 Others began screaming that they were “fucking mad!” and “this is our fucking house!,”

while one rioter (defendant Doug Jensen) approached the officers and yelled for them to “back

up!” At that point, Rubenacker began to approach the officers. In the screenshot below from

Capitol surveillance footage at 2:16 p.m., Rubenacker (circled in red) can be seen standing at the

front of the mob and pointing his finger at law enforcement officers and media, with Jensen

standing to his right around the time he yelled for the officers to “back up!”




       Open-source photographs show the same altercation from the officers’ perspective. In the

below photograph, Rubenacker (circled in red) is standing at the front of the mob, holding a

bottle, and pointing at officers with Doug Jensen to his right. Soon afterward, Jensen began

telling the officers to “go arrest the Vice President.” See supra, n. 5 at video timestamp 21:09.




5
 See https://www.youtube.com/watch?v=jWJVMoe7OY0&t=1222s, from timestamp 19:08 to
21:15.
                                         13
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       Rubenacker eventually returned downstairs. At 2:18 p.m., as seen in the below screenshot

from Capitol surveillance footage, law enforcement officers were ushering rioters out of the

building, and Rubenacker exited the building for the first time near the Senate Carriage Doors on

the east side of the Capitol.




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                     Rubenacker’s Second Unlawful Entry Into the Capitol

         Twenty-four minutes later—after witnessing property destruction at the Senate Wing

Doors, harassing law enforcement officers, and observing law enforcement officers attempt to

clear the building—Rubenacker reentered the Capitol. At 2:42 p.m., Rubenacker marched

through the East Rotunda doors as part of a mob of rioters just a few minutes after a violent

breach. Open-source video captured this breach, during which rioters surrounded and assaulted

law enforcement officers attempting to prohibit entry at the East Rotunda doors while hundreds

more forcefully pushed forward up the east side stairs, causing the crowd to push the officers

against the doors. The rioters screamed, “Take their shields!,” “Drag ‘em out!,” and “We want

Trump!” while pushing forward. The rioters fired pepper spray at the officers and building, beat

the officers with shields and flagpoles, and fired numerous projectiles at the officers and doors.

See Gov. Exhibit 17, from video timestamp 0:30 to 5:33. When the officers began to close the

doors, numerous rioters grabbed the doors and violently pried them back open. See Gov. Exhibit

18. When rioters finally began entering, a woman shouted “We did it,” as alarm bells blared. See

Gov. Exhibit 17, at video timestamp 5:33.

         Open-source photographs6 and video7 appear to show Rubenacker as part of this crowd

outside the East Rotunda doors just before he breached the Capitol. While marching in as the

crowd swallows law enforcement officers at the doors, alarm bells rang and numerous others

screamed, “push through!” See supra, n.7. The below screenshot appears to show Rubenacker

(circled in red) just before his entry, standing atop the stairs in the middle of a crowd of rioters.



6
    See https://www.instagram.com/p/CJxIF1oBg8K/.
7
  See https://www.youtube.com/watch?v=YzxvVi8wkrU&t=862s, from video timestamp 10:26
to 11:00.
                                          15
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       Within minutes of this scene, Rubenacker entered the Capitol a second time. A

screenshot from Capitol surveillance footage shows Rubenacker (circled in red) in the middle of

the mob attempting to enter the building unlawfully at about 2:42 p.m. See Gov. Exhibit 6.




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        Rubenacker then marched through the Rotunda and into the Senate Hall, where a mob of

rioters were chanting, “Our house!”, “Fuck McConnell!”, and “Push!” while advancing against a

line of law enforcement officers clad in riot gear positioned feet from the Senate Chamber (now

on the other side of the Ohio Clock Corridor). Some rioters at the front physically engaged with

the officers and used a riot shield to push forward while others clad in military-grade tactical

gear pushed and shouted, “Push! Push! Push! Get in there!” The government has provided the

Court with video of these actions, see Gov. Exhibits 7 and 19. Below is a still from Gov. Exhibit

7, showing rioters confronting the line of law enforcement officers with the Senate Chamber in

the background.




        At approximately 2:45 p.m., Rubenacker pushed his way through the mob and toward the

Senate Chamber, making it to approximately five rows of rioters back from the law enforcement

officers. Rubenacker can be seen from behind in his light-brown-colored hood (circled below in

red), with the line of officers a few rows of rioters away pointing the rioters to retreat (circled in

blue). See Gov. Exhibit 7. Seconds later, the officers deployed chemical-irritant spray over the

rioters, who retreated, and the officers partially cleared the hall. See id.
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       Rubenacker retreated to the Rotunda, filming as he walked. He joined hundreds of other

rioters in the Rotunda where he smoked what appears to be marijuana. In a video he added to his

Snapchat story, Rubenacker is smoking and yells, “Smoke out the Capitol, baby!” He also posted

a photo of himself holding what appears to be a pipe with the caption, “Smells like freedom in

here.” Three stills from Rubenacker’s Snapchat are below. See Gov. Exhibit 1.




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       At approximately 3:06 p.m., law enforcement officers entered the Rotunda, attempting to

regain control of the area and clear rioters out of the building. As officers began physically

pushing some of the rioters away, Rubenacker approached the officers rather than leave the area.

See Gov. Exhibit 20, from video timestamp 15:09 to 15:29. A still from Capitol surveillance

footage is below and shows Rubenacker (circled in red) and the officers wearing black and

yellow jackets (primarily in the upper-right). See Gov. Exhibit 14.




       As the officers continued to enter the Rotunda, Rubenacker and a crowd of rioters far

outnumbering the officers began to accumulate and confront the officers. See Gov. Exhibit 20,

from video timestamp 15:30 to 16:00. Rubenacker recorded a video of himself berating the

officers, yelling, “Who are you serving? Who are you guys serving? Who are you guys serving?

We are the people! Why are you not protecting us?” See Gov. Exhibit 9. The officer’s body-worn

camera also captured this altercation, and Rubenacker (circled in red) can be seen in in the

Rotunda in the below screenshot. See Gov. Exhibit 10.

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       Rubenacker’s clash against law enforcement officers only escalated. At approximately

3:07 p.m., a Metropolitan Police Department Officer began encouraging other law enforcement

officers to “move up” in a line against the rioters. Other rioters began reacting physically against

the officers, while one rioter yelled, “there’s too many of us!” Rubenacker stood in the

background and behind the rioters attacking the officers. He and other rioters then began to form

a line and confronted the officers. One officer yelled at Rubenacker and the rioters to “go out the

door” and pointed behind Rubenacker toward an exit. Rubenacker refused and repeatedly

screamed, “You’re a communist!” while pointing at the officer. The officers began yelling, “back

up” and started pushing some of the other rioters backward. Rubenacker yelled, “we’re getting

pretty sick and tired of you guys!” The government has submitted body-worn camera footage

that depicts these events. See Gov. Exhibit 21.

       Eventually, Rubenacker and this line of rioters began to physically push forward against

the officers, repelling the officers’ efforts to clear the Rotunda. Rubenacker used his weight and

force to aid the rioters’ efforts. He stood his ground, and repeatedly approached the line of
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officers while rioters around him yelled, “Hold the line!” Then, he, along with other rioters,

pushed against the line of law enforcement officers. At least one officer successfully pushed

against another rioter and Rubenacker, forcing them backward. The rioters overall, however,

surged forward, forcing the line of officers back and creating space between the two opposing

factions. Some rioters around Rubenacker launched themselves at the officers, swinging and

kicking, and the officers responded by pushing the rioters back. See Gov. Exhibit 20, from video

timestamp 16:00 to 16:30. The below screenshot shows Rubenacker (circled in red) pushing one

rioter’s back into a line of law enforcement officers who were attempting to repel Rubenacker

and other rioters. See id. at video timestamp 16:02.




       The officers escalated their efforts and continued to confront Rubenacker and the mob.

Shortly after the officers slowly started to force the rioters back, Rubenacker and other rioters

escalated in response. At 3:08 and 3:09 p.m., Rubenacker engaged in two assaults on law

enforcement. First, at approximately 3:08 p.m., other rioters began yelling at each other to “lock

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arms” while interlacing their arms and making it more difficult for the officers to move them.

Soon after, Rubenacker, standing behind some of those rioters, leapt up and swung a plastic

bottle and hit an officer’s head. A still from Capitol surveillance footage shows Rubenacker in a

red baseball hat with his right hand in the air (circled in red) just before swinging the bottle at the

officer in front of him and hitting the officer on the black riot helmet. See Gov. Exhibit 14.




       Open-source video also captured these events from the ground level. 8 The defendant

repeatedly rushed toward the line of officers while they physically engaged with other rioters.

His actions culminated in pushing another rioter forward against the officers just before hitting

one officer’s head with the bottle in his hand. In the following screenshot, Rubenacker (circled in

red) is raising his bottle just before swinging as seen in the above surveillance footage.

8
  See https://www.gettyimages.com/detail/video/donald-trump-supporters-storm-the-united-states
-capitol-news-footage/1295316639, from video timestamp 0:18 to 1:22.
                                              22
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       One minute later, at approximately 3:09 p.m., Rubenacker again approached the line of

law enforcement officers physically confronting rioters and threw liquid from his bottle at a

cluster of officers engaging with another individual. This assault is captured on body-worn

camera footage, Capitol surveillance footage, and open-source footage. See Gov. Exhibits 11-14.

When the liquid hit the officers, they flinched and paused, temporarily stopping their interacting

with the other rioters. See Gov. Exhibit 13. The below stills of body-worn camera footage show

Rubenacker’s actions from the ground level. In the first image, Rubenacker (circled in red) is

cocking his arm back to throw the liquid from his bottle. In the second, the liquid (circled in red)

can be seen flying in the air toward officers. See Gov. Exhibit 12.




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       Soon after Rubenacker’s assaults, law enforcement officers sprayed chemical-irritant

spray at Rubenacker and other rioters in the Rotunda, aiding in the officers’ attempts to clear the

area. Officers eventually funneled Rubenacker and others out of the Rotunda and into the East

Rotunda Doors lobby at approximately 3:13 p.m. On his way out of the Rotunda, Rubenacker

yelled at officers, “This is a communist act right here. I hope you guys are proud of that. This is a

communist act by you guys.” See Gov. Exhibit 22, from video timestamp 8:00 to 8:36; see also

Gov. Exhibit 20, from timestamp 18:00 to 18:30.

       In the East Rotunda lobby, Rubenacker first moved behind a column and attempted to

flush out his eyes with multiple bottles of liquid while rioters poured out of the Rotunda, into the

lobby, and eventually out of the Capitol. Eventually, Rubenacker moved from behind the column

to in front of it, continuing to pour water on his face and rinse the chemical-irritant from his eyes.

A still from Capitol surveillance footage below shows Rubenacker (circled in red) and another

rioter flushing out Rubenacker’s eyes with liquid at approximately 3:17 p.m. See Gov. Exhibit

15. Afterward, Rubenacker sat on the ground for about one minute in front of the column.




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        Open-source video captured this same moment. As seen in the screenshot below, the

defendant—wearing the same red baseball hat and brown-colored hood and holding a bottle—

rubbed his eyes in front of the column in the East Rotunda lobby with another rioter nearby

holding a water bottle and pouring water on Rubenacker’s face. See Gov. Exhibit 20, from video

timestamps 20:20 to 20:27 and 20:54 to 21:00.




        Rubenacker finally exited the Capitol at approximately 3:20 p.m. after a law enforcement

officer pushed him from behind and guided him out of the building. See Gov. Exhibit 15. A

screenshot from Capitol surveillance footage is below, showing an officer push Rubenacker out

of frame and out of the Capitol (both circled in red). See id. In total, Rubenacker was inside the

Capitol for 42 minutes. Over an hour elapsed from the time of Rubenacker’s first breach at 2:18

p.m. to his final exit at 3:20 p.m.




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                            Defendant’s Statements After January 6

       Within days of the attack, Rubenacker began conducting searches online regarding the

events of January 6. Specifically, he repeatedly searched on Google for “fbi pictures of rioters,”

as seen in the below screenshot of his browsing history on his cell phone.




       Around the same time, Rubenacker began messaging other individuals that he was no

longer using iMessage and was instead “Moving to signal,” an end-to-end encrypted messaging
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platform, because “I don’t trust anyone rn” and “It’s what Snowden uses.” He also searched for

methods to encrypt an iPhone—the same type of cell phone he carried into the Capitol and used

to record multiple videos he posted to social media.




       As detailed above, Rubenacker also posted about his actions on January 6 in a Snapchat

“story” that included at least four spliced videos. The story begins with a video of Rubenacker’s

hand holding a flyer that says “End CCP,” apparently referring to the Chinese Communist Party,

with the Washington Monument in the background. The next video shows other individuals on

the National Mall with the header, “America is pissed.” In the third video, Rubenacker is inside

the Capitol, saying, “Holy shit! This is history! We took the Capitol!” In the final video, he turns

the camera on himself while in the Rotunda, smoking what appears to be marijuana, and says

“America, baby! About time. Smoke out the Capitol, baby. Hell yeah.”

       Finally, Rubenacker engaged in text message conversations with other individuals about

his actions at the Capitol on January 6. On January 27, 2021, another individual texted

Rubenacker, “What happened a few weeks back… when I saw your involvement in it through

snap, my first reaction was to just delete so I don’t see any of it. Once things calmed down a bit I
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added you again . . . . More than anything I want you to know you can have your own beliefs and

I respect them, but I am disappointed that you’d get involved in that kind of behavior at the

capital.” In response, Rubenacker texted “I’m trying to understand what did that do that offended

you so much and what violence did I do?” Thirty seconds later, Rubenacker texted, “My beliefs

are constitutional beliefs.” On February 2, 2021, Rubenacker texted another individual a series of

messages related to his actions on January 6, including, “Y’all have video of me in the capital?

Fuck u,” “Was let into the capital by police,” and “These cock suckers need facts.”

       In at least one text conversation, Rubenacker expressed anger toward another individual

for posting something publicly online related to Rubenacker’s actions at the Capitol on January

6. Rubenacker responded, “Playing with my freedom I guess is funny to you and I did zero

violence.” See Gov. Exhibit 23 at video timestamp 0:05. As seen in the below screenshot,

Rubenacker later explained that he had “fought for [people’s] constitutional rights.” See Gov.

Exhibits 16. This individual, in Rubenacker’s words, had “betrayed” him. See id.




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   III.      THE CHARGES AND DEFENDANT’S PLEA

          On November 10, 2021, a federal grand jury returned a superseding indictment charging

the defendant with Civil Disorder in violation of 18 U.S.C. § 231(a)(3) (Count One); Obstruction

of an Official Proceeding in violation of 18 U.S.C. § 1512(c)(2) (Count Two); Assaulting,

Resisting, or Impeding Certain Officers in violation of 18 U.S.C. § 111(a)(1) (Count Three);

Entering or Remaining in any Restricted Building or Grounds in violation of 18 U.S.C.

§ 1752(a)(1) (Count Four); Disorderly and Disruptive Conduct in a Restricted Building or

Grounds in violation of 18 U.S.C. § 1752(a)(2) (Count Five); Engaging in Physical Violence in a

Restricted Building or Grounds in violation of 18 U.S.C. § 1752(a)(4) (Count Six); Disorderly

Conduct in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(D) (Count Seven);

Impeding Passage Through the Capitol Grounds and Buildings in violation of 40 U.S.C.

§ 5104(e)(2)(E) (Count Eight); Act of Physical Violence in the Capitol Grounds or Buildings in

violation of 40 U.S.C. § 5104(e)(2)(F) (Count Nine); and Parading Demonstrating, or Picketing

in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G) (Count Ten). On February 2,

2022, the defendant pleaded guilty to all counts of the Superseding Indictment without a plea

agreement.

   IV.       STATUTORY PENALTIES

          The defendant now faces sentencing on all counts of the Superseding Indictment.

          As noted by the U.S. Probation Office, the defendant faces:

    •      Up to 5 years of imprisonment, a fine of up to $250,000, and a term of supervised
           release of not more than 3 years for Count One, Civil Disorder;

    •      Up to 20 years of imprisonment, a fine up to $250,000, and a term of supervised release
           of not more than three years for Count Two, Obstruction of an Official Proceeding;

    •      Up to 8 years of imprisonment, a fine up to $250,000, and a term of supervised release

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          of not more than three years for Count Three, Assaulting, Resisting, or Impeding Certain
          Officers;

     •    Up to 1 year imprisonment, a fine up to $100,000, and a term of supervised release of
          not more than 1 year for Counts 4-6, Entering and Remaining in a Restricted Building or
          Grounds, Disorderly and Disruptive Conduct in a Restricted Building or Grounds, and
          Engaging in Physical Violence in a Restricted Building or Grounds, respectively; and

     •    Up to 6 months imprisonment and a fine of up to $5000 for Counts 7-10, Disorderly
          Conduct in a Capitol Building; Impeding Passage Through the Capitol Grounds or
          Building; Act of Physical Violence in the Capitol Grounds or Building; and Parading
          Demonstrating, or Picketing in a Capitol Building, respectively.

See Presentencing Report (“PSR”) at 1-2.

   V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product

of careful study based on extensive empirical evidence derived from the review of thousands of

individual sentencing decisions” and are the “starting point and the initial benchmark” for

sentencing. Id. at 49.

         The government agrees with the Sentencing Guidelines calculation set forth in the final

PSR. The Guidelines do not apply to four of the counts to which Rubenacker pleaded guilty—

Counts Seven, Eight, Nine, and Ten. See PSR ¶ 47. The remaining counts group together, PSR

¶¶ 48, 48a, 48b, and the proper offense level calculation is as follows:




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       Base Offense Level (U.S.S.G. §2J1.2(a)                                     14

       Specific Offense Characteristic: Causing or Threatening Physical
       Injury to Obstruct Administration of Justice (U.S.S.G. §2J1.2(b)(1)(B))    +89

       Specific Offense Characteristic: Offense Resulted in Substantial
       Interference with the Administration of Justice (U.S.S.G. §2J1.2(b)(2))    +3

       Acceptance of Responsibility (U.S.S.G. §3E1.1(a) and (b))                  -3

       Total Offense Level                                                        22

See PSR ¶¶ 50-60.

       Because Rubenacker’s criminal history score is zero, his Sentencing Guidelines range is

41 to 51 months. For counts Four through Six, however, the maximum sentence is 12 months.

And for the non-Guidelines counts (Counts Seven through Ten), the maximum sentence is six

months.

                    “Administration of Justice” under U.S.S.G. §§ 2J1.2(b)(2)

       The PSR correctly rejected Rubenacker’s objections to the application of the

enhancements in U.S.S.G. § 2J1.2(b)(2). The three-level increase applies where “the offense

resulted in substantial interference with the administration of justice. USSG § 2J1.2(b)(2)

(emphasis added). The Guidelines define the term “[s]ubstantial interference with the

administration of justice” to include “a premature or improper termination of a felony

investigation; an indictment, verdict, or any judicial determination based on perjury, false

testimony, or other false evidence; or the unnecessary expenditure of substantial governmental



9
 The defendant’s threatening conduct toward and assaults of multiple law enforcement officers
protecting the Capitol and Members of Congress during the certification of the 2020 Electoral
College vote renders this provision applicable. Separately, the defendant’s actions smoking what
appears to be marijuana and spraying liquid inside the Rotunda renders this provision applicable.
See, e.g., United States v. Jacob Chansley, Case Number 21-cr-3-RCL; United States v. Scott
Fairlamb, Case Number 21-cr-120-RCL.
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or court resources.” USSG § 2J1.2 cmt. n.1 (emphasis added). The offenses that Rubenacker

committed on January 6 resulted in substantial interference with the administration of justice

because the offenses involved the unnecessary expenditure of governmental resources.

       That commonsense view finds support in the case law. For example, district courts have

relied on the phrase “the unnecessary expenditure of substantial government or court resources”

to apply subsection (b)(2)’s three-level enhancement to interference with non-judicial

proceedings and to obstruction that led to the government’s expenditure of resources. In United

States v. Ali, 864 F.3d 573, 574 (7th Cir. 2017), a court applied the specific offense characteristic

after numerous federal agents “worked for several days around the clock” to bring a defendant’s

children back to the United States after the defendant violated an international parental

kidnapping statute. Likewise, a court applied the specific offense characteristic after defendants

interfered with OSHA investigations into a workplace accident. See United States v. Atlantic

States Cast Iron Pipe Co., 627 F. Supp. 2d 180, 205-08 (D.N.J. 2009). A separate court applied

the enhancement after a defendant withheld subpoenaed documents from a congressional

subcommittee. See United States v. Weissman, 22 F. Supp. 2d 187, 194-98 (S.D.N.Y. 1998).

And, finally, the Eleventh Circuit recently cited affirmatively to another case in which it found

Section 2J1.2(b)(2) applicable where, as a result of the defendant’s false grand jury testimony,

the government was forced to identify and interview several other witnesses, review the

defendant’s records, and reconvene the grand jury. See United States v. Pegg, 812, F. App’x 851,

860 (11th Cir. 2020) (citing United States v. Johnson, 485 F.3d 1264, 1271–72) (11th Cir.

2007)); see also United States v. Meredith, 602 F. App’x 102, 103 (4th Cir. 2015) (affirming the

application of the enhancement because significant “government” resources were invested to

resolve the defendant’s attempts at obstruction); United States v. Tankersley, 296 F.3d 620, 623–

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24 (7th Cir. 2002) (same); United States v. Harrington, 82 F.3d 83, 87 n.2 (5th Cir. 1996), as

modified on reh’g (Apr. 17, 1996) (same); United States v. Voss, 82 F.3d 1521, 1532 (10th Cir.

1996) (same).

       The events of January 6, 2021 indisputably resulted in the “unnecessary expenditure of

substantial governmental . . . resources,” with the latest estimate of damages from the Architect

of the Capitol, the Capitol Police, the House Chief Administrative Office, and the Senate

Sergeant at Arms totaling at least $2,734,783.14. And Rubenacker’s offenses—along with

similar offenses committed by many others—without question contributed to that “unnecessary

expenditure of substantial governmental resources”: the deployment of hundreds of law

enforcement officers, and ultimately National Guardsmen and Guardswomen, to defend and then

clear the Capitol building and grounds of those—such as the defendant here—whose conduct

caused the evacuation of hundreds of lawmakers and the suspension of the Certification

proceedings. The repair and clean-up costs were similarly extensive—and certainly “substantial.”

In short, the breach delayed the electoral certification by more than five hours, caused nearly

three million dollars of damage to the Capitol, triggered an overwhelming police response, and

required a massive security response up to and through the inauguration. See Ali, 864 F.3d at 574

(noting that involvement by various agencies working through the night amounted to substantial

expenditure, notwithstanding the government’s failure to supply cost estimates related to these

expenses). Rubenacker’s conduct for nearly an hour inside the Capitol on January 6 contributed

to this massive expenditure of governmental resources.

       This reading of the specific offense characteristic at issue also finds support in

§ 1B1.3(a)(3), which includes as relevant conduct “all harm that resulted from” or “was the

object of” the defendant’s acts (or the acts of others engaged in jointly undertaken criminal

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activity). Here, the defendant’s actions meet both of those. The substantial interference

enhancement pursuant to § 2J1.2(b)(2) focuses on whether the end result—the obstruction

itself—was substantial. Here, it was. There is no question that the defendant’s and others’ actions

directly resulted in delaying the joint session of the United States Congress for the Certification

of the Electoral College Vote regarding the 2020 presidential election for multiple hours, in

addition to the various expenditures detailed above required to address this obstruction.

         Finally, judges of this Court have applied specific offense characteristics related to the

“administration of justice” in several other Capitol riot matters, including United States v.

Hodgkins, 21-cr-188-RDM; United States v. Fairlamb, 21-cr-120-RCL; United States v.

Chansley, 21-cr-3-RCL; and United States v. Wilson, 21-cr-345-RCL. The court should do the

same here.

   VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

         In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct,

§ 3553(a)(6). In this case, as described below, the Section 3553(a) factors weigh in favor of a

lengthy term of incarceration.

         A.     Nature and Circumstances of the Offense

         The attack on the United States Capitol, on January 6, 2021, is a criminal offense

unparalleled in American history. It represented a grave threat to our democratic norms; indeed,

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it was one of the only times in our history when the building was literally occupied by hostile

participants. By its very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on his or her individual conduct, each

individual person who entered the Capitol and assaulted law enforcement on January 6 did so

under the most extreme of circumstances, to which their conduct directly contributed. As a

person entered the Capitol, they would—at a minimum—have crossed through numerous

barriers and barricades, heard the throes of a mob, and smelled chemical irritants in the air.

Depending on the timing and location of their approach, in addition to their own acts of violence,

they likely would have observed other extensive fighting with law enforcement.

       While looking at the defendant’s individual conduct, we must assess such conduct on a

spectrum. This Court, in determining a fair and just sentence on this spectrum, should look to a

number of critical factors, to include: (1) whether, when, how the defendant entered the Capitol

building; (2) whether the defendant encouraged violence; (3) whether the defendant encouraged

any acts of property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored, law enforcement; and (9) whether the defendant otherwise exhibited evidence of

remorse or contrition. While these factors are not exhaustive nor dispositive, they help to place

each individual defendant on a spectrum as to their fair and just punishment.

       The nature and circumstances of this defendant’s crimes weigh heavily in favor of a

significant term of incarceration. The defendant entered the Capitol building not once but twice

over the course of an hour—wreaking havoc for over 40 minutes inside. Rubenacker first entered

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the building less than a minute after the initial breach, mere seconds after other rioters kicked

open the doors through which he entered. Indeed, he was one of the first 50 rioters to enter the

Capitol that day. Once inside, he explained exactly what he was doing on Snapchat: he “took the

Capitol.”

       While inside, he encouraged violence by chasing Capitol Police Officer Eugene

Goodman up a flight of stairs, directly past an area where lawmakers had retreated. Indeed, if the

officer had not deliberately led the group of rioters away from the Senate chamber—to which

there was an unimpeded path—Rubenacker and the rioters with him might have come face to

face with U.S. Senators. Rubenacker then approached and berated another line of law

enforcement officers while others around him screamed for the officers to move out of their way

and to arrest Vice President Pence—all feet from the Senate Chamber where the Vice President

was by law to be serving as President of the Senate and overseeing the Electoral College

Certification vote. Rubenacker thereafter exited the building and had the opportunity to leave for

good. Instead, he walked around the Capitol grounds and reentered the building through another

entry point 20 minutes later after a violent breach of the East Rotunda Doors.

       Rubenacker’s conduct escalated during his second time inside the Capitol. He joined a

mob forcefully pushing against a line of riot-gear clad officers who were attempting to stop the

rioters from reaching the Senate Chamber. This was the second time within an hour that

Rubenacker was part of a group advancing toward that area, this time from another entry point. It

took the law enforcement officers deploying chemical-irritant spray to finally repel Rubenacker

and the mob from the Senate Hall and back into the Rotunda. There, Rubenacker filmed himself

smoking marijuana and claimed to “smoke out the Capitol.” Several minutes later, he again

berated law enforcement officers, calling them “communists.”

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       Not content to yell at officers, Rubenacker got physical and assaulted them. First, he

swung a plastic water bottle at an officer’s head while that officer was attempting to remove

rioters from the Rotunda. Next, Rubenacker threw liquid at multiple other officers from his water

bottle. Although the liquid was apparently water, see PSR ¶ 26, Rubenacker had repeatedly

drunk from the bottle while in the Capitol, and he threw the bottle’s contaminated contents at

multiple officers during the middle of a pandemic. Moreover, the officers would not have

initially known what kind of liquid had hit them. In fact, video shows that when the liquid hit the

officers, it temporarily caused them to cease engaging with another rioter who had physically

confronted them.

       After the attack, Rubenacker posted a story to his Snapchat account, detailing many of his

actions on January 6. By posting this story after the January 6 riot, Rubenacker demonstrated a

significant lack of remorse. Further, he took steps consistent with trying to hide his role in the

attack on January 6, searching for “fbi photos” and how to “encrypt” his iPhone, and

encouraging his contacts to switch to encrypted messaging services. And he knew what he had

done was illegal, messaging to another individual that posted something publicly online that he

had played with his “liberty” and “betrayed” him. Indeed, apart from Rubenacker’s limited

statements to the PSR drafter, the government has no evidence that Rubenacker is remorseful for

his conduct on January 6. As he would describe it to another individual by text message, he

“fought for [others’] constitutional rights.”

       The seriousness of Rubenacker’s conduct, including his early entry into the building, his

attacks on law enforcement, his reentry into the building, and his statements in text messages of

the need to “fight” demand a lengthy sentence of imprisonment.



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       B.      The History and Characteristics of the Defendant

       The defendant does not have a criminal history and has been compliant with the

conditions of pretrial release. The defendant does not have steady employment and admits to

being a daily user of marijuana, though his conditions of supervision do not require drug testing.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the Capitol building and grounds, and all that it involved, was an attack on

the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.”10 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration. Rubenacker’s criminal conduct, assaulting law

enforcement officers and corruptly obstructing an official proceeding, is the epitome of

disrespect for the law. When Rubenacker entered the Capitol grounds, and the Capitol itself, it

was abundantly clear to him that lawmakers, and the law enforcement officers who tried to

protect them, were under siege. Law enforcement officers were overwhelmed, outnumbered, and

in some cases, in serious danger. The rule of law was not only disrespected; it was under attack

that day. A lesser sentence would suggest to the public, in general, and other rioters, specifically,

that attempts to obstruct official proceedings and assaults on police officers are not taken

seriously. In this way, a lesser sentence could encourage further abuses. See Gall, 552 U.S. at 54

(it is a “legitimate concern that a lenient sentence for a serious offense threatens to promote

disrespect for the law”).

10
  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s
Statement”), available at https://oversight.house.gov/sites/democrats.oversight.house.gov/files
/Wray%20Testimony.pdf
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          D.     The Need for the Sentence to Afford Adequate Deterrence

          Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010). Both are at issue here.

                                        General Deterrence

          A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. § 3553(a)(2)(B). The need to deter others is especially strong in cases

involving domestic terrorism, which the breach of the Capitol certainly was.11 The demands of

general deterrence weigh strongly in favor of incarceration, as they will for nearly every case

arising out of the violent riot at the Capitol. The violence at the Capitol on January 6 was

cultivated to interfere, and did interfere, with one of the most important democratic processes we

have: the transfer of power. As noted by Judge Moss during sentencing, in United States v. Paul

Hodgkins, 21-cr-188-RDM:

          [D]emocracy requires the cooperation of the governed. When a mob is prepared
          to attack the Capitol to prevent our elected officials from both parties from
          performing their constitutional and statutory duty, democracy is in trouble. The
          damage that [the defendant] and others caused that day goes way beyond the
          several-hour delay in the certification. It is a damage that will persist in this
          country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was

seven months ago for the United States and our diplomats to convince other nations to pursue

democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70.


11
     See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
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       The gravity of these offenses demands deterrence. This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater

factor that this Court must consider.

                                        Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs in favor of a lengthy term of incarceration. Although the defendant has a criminal history

category of I, he has expressed little remorse for his actions on January 6. In fact, the

government’s only indication that Rubenacker is remorseful for his actions is in the statement he

made to the PSR drafter. Rubenacker provided a three-sentence written statement to the drafter,

stating, “I’m learning to be the best person I can be. I don’t watch politics anymore. I go therapy

every week.” This is not remorse. Rubenacker did not address his conduct on January 6. He did

not apologize to the officers he assaulted. He did not address the significant cost he imposed

upon the lawmakers, officers, aides, staffers, support staff, and others around him that day. He

did not speak to the rippling effect his and others’ actions had on this country’s standing as a

leading democratic republic. Rubenacker’s serious crimes, combined with his lack of remorse,

demonstrate that his sentence must be sufficient to provide specific deterrence from committing

future crimes of violence.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

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community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v.

United States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has

“‘modif[ied] and adjust[ed] past practice in the interests of greater rationality, avoiding

inconsistency, complying with congressional instructions, and the like.’” Kimbrough v. United

States, 552 U.S. 85, 96 (2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the

capacity courts lack to ‘base its determinations on empirical data and national experience, guided

by professional staff with appropriate expertise,’” and “to formulate and constantly refine

national sentencing standards.” Kimbrough, 552 U.S. at 108. Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101. As the Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing
       Commission’s in-depth research into prior sentences, presentence investigations,
       probation and parole office statistics, and other data. U.S.S.G. §1A1.1, intro,
       comment 3. More importantly, the Guidelines reflect Congress’s determination of
       potential punishments, as set forth in statutes, and Congress’s on-going approval
       of Guidelines sentencing, through oversight of the Guidelines revision process.
       See 28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to
       the Guidelines). Because the Guidelines reflect the collected wisdom of various
       institutions, they deserve careful consideration in each case. Because they have
       been produced at Congress’s direction, they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that Asignificantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that

might achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and


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appropriate sentence, the Guidelines unquestionably provide the most helpful benchmark. As this

Court knows, the government has charged a considerable number of persons with crimes based

on the January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected

to Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines will be a powerful driver of consistency and

fairness moving forward.

       In fact, probation is also recommending a guidelines sentence—specifically, a sentence

of 41 months’ incarceration. According to probation, this guidelines recommendation adequately

punishes the defendant’s actions that “display[ed] a disregard for public order and jeopardized

human life.” ECF 53, Probation Sentencing Recommendation, at 3. Apart from adequate

punishment, probation has noted that a guidelines term of imprisonment would act “as a

deterrence for others and provide[] some level of protection for the community from the

defendant’s future crimes.” Id.

       F.      Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that the defendant and others like him committed on January 6 are

unprecedented. These crimes defy statutorily appropriate comparisons to obstructive conduct in

other cases. To try to mechanically compare other § 1512 defendants prior to January 6, 2021,

would be a disservice to the magnitude of what the riot entailed and signified. Comparison to

other January 6 defendants is more apt.

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors to assault

on law enforcement officers, such as is the case here. Each offender must be sentenced based on

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their individual circumstances but with the backdrop of the January 6 riot in mind.

       While the defendants discussed below participated in the Capitol breach on January 6,

2021, many salient differences—such as how a defendant entered the Capitol, how long he

remained inside, the nature of any statements he made (on social media or otherwise), whether

he destroyed evidence of his participation in the breach, etc.—help explain the differing

recommendations and sentences. And as that discussion illustrates, avoiding unwarranted

disparities requires the courts to consider not only a defendant’s “record” and “conduct” but

other relevant sentencing criteria, such as a defendant’s expression of remorse or cooperation

with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir. 2008) (no

unwarranted disparity regarding lower sentence of codefendant who, unlike defendant, pleaded

guilty and cooperated with the government).

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the Court may consider the sentences imposed on Scott Fairlamb,

Duke Wilson, and Devlyn Thompson, for reference. Scott Fairlamb, 21-cr-41-RCL, pleaded

guilty to violations of 18 U.S.C. §§ 1512(c)(2) and 111(a)(1) and was sentenced to 41 months

incarceration and 36 months supervised release. Fairlamb, like Rubenacker, entered through the

Senate Wing Door about a minute after the initial breach, although Fairlamb was brandishing a

police baton when he entered. Like Rubenacker, Fairlamb assaulted a law enforcement officer

while inside the Capitol and made statements after the riot suggesting he was proud of his

actions. Notably, several mitigating factors are present in Fairlamb’s case that are not present

here. Fairlamb, unlike Rubenacker, showed sincere remorse for his actions, and he was also one

of the earliest felony pleas in a Capitol riot case. Fairlamb, Sen. Tr. at 37. And Rubenacker spent

a considerable amount of total time in the Capitol after breaching the building not once, but

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twice—accosting law enforcement officers trying to repel him and other rioters, smoking

marijuana, and pushing through multiple areas of the building.

        Duke Wilson, 21-cr-345-RCL, pleaded guilty to 18 U.S.C. §§ 1512(c)(2) and 111(a)(1)

and was sentenced to 51 months incarceration and 36 months supervised release. Wilson

participated in the attack on law enforcement at the Capitol’s lower west terrace, arguably the

most violent area of the Capitol riot on January 6. Wilson struck officers with a PVC pipe and

threw the pipe at officers. Rubenacker also engaged in multiple assaults, but unlike Rubenacker,

Wilson did not enter the building, let alone do so twice. And Rubenacker did not merely enter

the building; he was also one of the first rioters through the breached Senate Wing Doors and,

after entering, began chasing Officer Goodman throughout part of the Capitol. Rubenacker

sought out this confrontation nearly immediately upon entering the building while others around

him screamed asking where the elected officials were counting the votes. And his actions

impeding the proceeding and law enforcement officers continued for nearly an hour. As made

clear by Wilson’s sentence, a sentence at the low-end of the guidelines would not be appropriate

here.

        Devlyn Thompson, 21-cr-461-RCL, pleaded guilty to 18 U.S.C. §§ 111(a)(1) and (b) and

was sentenced to 46 months’ imprisonment. The defendant assaulted an officer with a police

baton while on the Lower West Terrace, threw a large box speaker at a line of police officers,

and stayed in the area of some of the most vicious assaults for multiple hours. Similarly,

Rubenacker engaged in multiple assaults on law enforcement officers and remained on Capitol

grounds and in the Capitol building for at least an hour. Rubenacker, however, was among the

first 50 people to enter the Capitol, he chased Officer Goodman within a minute of entering the

building, he reentered the building 20 minutes after his initial exit, and repeatedly engaged in

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harassing and assaultive conduct against law enforcement in and around the Rotunda. In all, the

defendant pled guilty to multiple felonies and misdemeanors. None of these aggravating factors

are present in Thompson’s case. Finally, Thompson, unlike Rubenacker, has been diagnosed

with autism spectrum disorder, which his defense counsel argued at sentencing made him

“uniquely vulnerable to what was going on on the Capitol grounds that day.” Thompson, Sen. Tr.

at 12-14, 29.

       Finally, it is important to note the differences between Rubenacker’s case and that of

Mark Leffingwell, 21-cr-5-ABJ. Leffingwell pled guilty to violating 18 U.S.C. § 111(a). He

entered the Capitol and remained just inside the Senate Wing Door. He ignored multiple officer

commands to back up and away from the Senate Wing Door, and eventually officers began

pushing people back and out of the door. In response, Leffingwell punched two officers in the

face. The Court imposed a sentenced of 6 months’ imprisonment, well below the bottom of the

Guidelines, noting the defendant’s sincere contrition, his prior military service, and the fact that

he suffered from a traumatic brain injury while serving in the military that may give him

difficulty functioning in an institutional environment. Leffingwell Sen. Tr. at 53. Rubenacker, by

contrast, has failed to show remorse after spending nearly an hour on Capitol grounds and inside,

smoking marijuana inside, charging after officers, and engaging in two assaults on January 6.

Also, unlike Leffingwell, Rubenacker was one of the first people inside the building that day,

and, almost immediately upon entering, he began to chase Officer Goodman up the stairs and

toward the Senate Chamber. Rubenacker’s actions are dissimilar to Leffingwell’s conduct, and a

low-end guidelines sentence would be inappropriate in this matter.

   VII.    RESTITUTION

       Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

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restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096

(D.C. Cir. 2011). Two general restitution statutes provide such authority. First, the Victim and

Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579, 96 Stat. 1248 (now

codified at 18 U.S.C. § 3663), “provides federal courts with discretionary authority to order

restitution to victims of most federal crimes.” Papagno, 639 F.3d at 1096. Second, the

Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110 Stat. 1214

(codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset

of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The applicable procedures for

restitution orders issued and enforced under these two statutes is found in 18 U.S.C. § 3664. See

18 U.S.C. § 3556 (directing that sentencing court “shall” impose restitution under the MVRA,

“may” impose restitution under the VWPA, and “shall” use the procedures set out in Section

3664).

         The VWPA and MVRA share certain features. Both require that restitution “be tied to the

loss caused by the offense of conviction.” Hughey v. United States, 495 U.S. 411, 418 (1990)

(interpreting the VWPA); see United States v. Clark, 747 F.3d 890, 897 (D.C. Cir. 2014)

(restitution under the MVRA limited to the “offense of conviction” under Hughey). Both require

identification of a victim, defined in both statutes as “a person directly and proximately harmed

as a result of” the offense of conviction. 12 See 18 U.S.C. § 3663(a)(2) (VWPA); 18 U.S.C.

§ 3663A(a)(2). Both statutes identify similar covered costs, including lost property and certain


12
  The government or a governmental entity can be a “victim” for purposes of the VWPA and
MVRA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9 (D.D.C. 2012) (citations
omitted).
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expenses of recovering from bodily injury. See Papagno, 639 F.3d at 1097-97; § 3663(b);

§ 3663A(b). Finally, under both the statutes, the government bears the burden by a

preponderance of the evidence to establish the amount of loss suffered by the victim. United

States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019). The relevant inquiry is the scope of the

defendant’s conduct and the harm suffered by the victim as a result. See Emor, 850 F. Supp. 2d

at 202. The use of a “reasonable estimate” or reasonable approximation is sufficient, “especially

in cases in which an exact dollar amount is inherently incalculable.”13 United States v. Gushlak,

728 F.3d 184, 196 (2d Cir. 2013); see United States v. Sheffield, 939 F.3d 1274, 1277 (11th Cir.

2019) (estimating the restitution figure is permissible because “it is sometimes impossible to

determine an exact restitution amount”) (citation omitted); United States v. James, 564 F.3d

1237, 1246 (10th Cir. 2009) (restitution order must identify a specific dollar amount but

determining that amount is “by nature an inexact science” such that “absolute precision is not

required”) (citation omitted); United States v. Burdi, 414 F.3d 216, 221 (1st Cir. 2005) (same);

see also Paroline v. United States, 572 U.S. 434, 459 (2014) (observing in the context of the

restitution provision in 18 U.S.C. § 2259 that the court’s job to “assess as best it can from

available evidence the significance of the individual defendant’s conduct in light of the broader

casual process that produced the victim’s losses . . . cannot be a precise mathematical inquiry”).

       The statutes also differ in significant respects. As noted above, the VWPA is a

discretionary restitution statute that permits, but does not require, the sentencing court to impose

restitution in any case where a defendant is convicted under Title 18 or certain other offenses in

Title 21 or Title 49. 18 U.S.C. § 3663(a). In deciding whether to impose restitution under the



13
  The sentencing court should “articulate the specific factual findings underlying its restitution
order in order to enable appellate review.” Fair, 699 F.3d at 513.
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VWPA, the sentencing court must take account of the victim’s losses, the defendant’s financial

resources, and “such other factors as the court deems appropriate.” United States v. Williams,

353 F. Supp. 3d 14, 23-24 (D.D.C. 2019) (quoting 18 U.S.C. § 3663(a)(1)(B)(i)). By contrast, as

noted above, the MVRA applies only to certain offenses, such as a “crime of violence,”

§ 3663A(c)(1)(A), or “Title 18 property offenses ‘in which an identifiable victim . . . has suffered

a physical injury or pecuniary loss,’” Fair, 699 F.3d at 512 (citation omitted), but it requires

imposition of full restitution without respect to a defendant’s ability to pay.14

       Applying these principles to this case leads to the conclusion that Rubenacker should be

required to pay $2,000 in restitution. One of the offenses to which he has pleaded guilty, 18

U.S.C. § 1752(a)(1), triggers mandatory restitution under the MVRA as an “offense against

property” that resulted in pecuniary loss for the Architect of the Capitol, see 18 U.S.C.

§ 3663A(c)(1)(A)(ii), and a second offense, 18 U.S.C. § 1752(a)(4), separately triggers the

MVRA as a “crime of violence,” see 18 U.S.C. § 3663A(c)(1)(A)(i). Moreover, Rubenacker’s

additional convictions under Title 18, see Count 1 (18 U.S.C. § 231(a)(3)); Count 2 (18 U.S.C.

§ 1512(c)(2)); Count 3 (18 U.S.C. § 111(a)(1); Count 5 (18 U.S.C. § 1752(a)(2)), fall within the

VWPA. As described in detail above, Rubenacker’s conduct, in conjunction with that of many

other rioters, directly and proximately resulted in damage to the Capitol building and grounds

and losses suffered by law enforcement officers deployed to protect Members of Congress, their

staff, and other Capitol employees. A “reasonable estimate,” Gushlak, 728 F.3d at 196, of the

restitution for which Rubenacker should be responsible is $2,000. That is the same amount that

defendants convicted of felony offenses in connection with the events of January 6 have typically


14
  Both statutes permit the sentencing court to decline to impose restitution where doing so will
“complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. § 3663(a)(1)(B)(ii); 18
U.S.C. § 3663A(c)(3)(B).
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agreed to pay under their plea agreements.

       The VWPA and MVRA also provide that restitution ordered under Section 3663 “shall

be issued and enforced in accordance with section 3664.” 18 U.S.C. § 3663(d); 18 U.S.C.

§ 3663A(d). Because this case essentially involves the related criminal conduct of hundreds of

defendants, the Court has discretion to: (1) hold the defendants jointly and severally liable for the

full amount of restitution owed to the victim(s), see 18 U.S.C. § 3664(f)(1)(A)(requiring that, for

restitution imposed under § 3663, “the court shall order restitution to each victim in the full

amount of each victim’s losses as determined by the court and without consideration of the

economic circumstances of the defendant”); or (2) apportion restitution and hold the defendant

and other defendants responsible only for each defendant’s individual contribution to the

victim’s total losses. 18 U.S.C. § 3664(h). Here, Rubenacker should be directed to pay $2,000 as

an approximate estimate of the losses for which he is responsible.




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   VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 46 months, which is a mid-range sentence as calculated by the

government, 3 years’ supervised release, $2,000 in restitution, and the mandatory $100 special

assessment for each count of conviction.

                                            Respectfully submitted,

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                                Exhibit and Attachment List

Exhibits
   1. Exhibit 1 – Rubenacker Snapchat Video
   2. Exhibit 2 – Senate Wing Door CCTV Screenshot
   3. Exhibit 3 – Open Source Video of Pursuit of EG 1
   4. Exhibit 4 – Open Source Video of Pursuit of EG 2
   5. Exhibit 5 – Ohio Clock Room CCTV
   6. Exhibit 6 – East Rotunda Doors CCTV
   7. Exhibit 7 – Open Source Video of Senate Hall
   8. Exhibit 8 – Rubenacker Snapchat Photograph
   9. Exhibit 9 – Rubenacker Cell Phone Video
   10. Exhibit 10 – Ofc NR BWC Clip
   11. Exhibit 11 – Open Source Video of Rotunda
   12. Exhibit 12 – Ofc KDP BWC Clip
   13. Exhibit 13 – Ofc BR BWC Clip
   14. Exhibit 14 – Rotunda CCTV
   15. Exhibit 15 – East Rotunda Doors CCTV 2
   16. Exhibit 16 – Rubenacker Cell Phone Messages Screenshot
   17. Exhibit 17 – Open Source Video of East Rotunda Doors Breach
   18. Exhibit 18 – Open Source Video of East Rotunda Doors Breach 2
   19. Exhibit 19 – Open Source Video of Senate Hall 2
   20. Exhibit 20 – Open Source Video of Rotunda 2
   21. Exhibit 21 – Ofc AA BWC Clip
   22. Exhibit 22 – Ofc RM BWC Clip
   23. Exhibit 23 – Rubenacker Cell Phone Messages Screen Recording

Note that 23 photographs and videos have been provided via electronic communication to the
Court and defense counsel. The government does not object to the public release of any of the
above photographs or videos.

Attachment
   1. Table 1 – Capitol Siege Sentences




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